            Case 2:15-cr-00599-PD Document 55 Filed 03/01/17 Page 1 of 3
             Case 2:15-cr-00599-PD Document 53 Filed 02/13/17 Page 5 of 7



                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA

                v.                                                    Criminal No. 15-599-01

MAHMOUD AGUIBI


               .JUDGMENT AND PRELIMINARY ORDER OF FORFEITURE

IT IS HEREBY ORDERED THAT:

        1.      As the result of the defendant pleading guilty to Counts Two, Four, and Six of the

Indictment, charging violations of Title 18, United States Code, Sections 924(c)(l), using,

carrying, or brandishing a firearm during and in relation to a crime of violence, for which the

Government sought forfeiture pursuant to Title 18, United States Code, Section 924(d) and Title

28, United States Code, Section 2461(c), the defendant hereby forfeits to the United States all

right, title and interest in the firearm and ammunition involved in the commission of the offenses

charged in Counts Two, Four, and Six of the Indictment.

       2.       The Court has determined, based upon the facts set forth at the defendant's

change of plea hearing, that the following specific property is subject to forfeiture as a result of

the defendant pleading guilty to the illegal acts alleged in Counts Two, Four, and Six of the

Indictment, and that the government has established the requisite nexus between such property

and such offenses:

                a)     One Sig Sauer, Model P226 9mm semi-automatic pistol, bearing serial
                       number U643051; and

                b)     Nine live rounds of 9mm ammunition.

as the firearm and ammunition involved in the commission of the said violation (hereinafter

referred to as the "Subject Property").
         Case 2:15-cr-00599-PD Document 55 Filed 03/01/17 Page 2 of 3
             Case 2:15-cr-00599-PD Document 53 Filed 02/13/17 Page 6 of 7



        3.      Upon the entry of this Order, the United States is authorized to seize the Subject

Property, described at paragraph 2 above, and to dispose of the Subject Property in accordance

with Fed.R.Crim.P. 32.2(b)(3).

        4.      Pursuant to Title 21, United States Code, Section 853(n)(l) and Title 28 United

States Code, Section 2461(c), the United States Government shall put notice, on an official

internet government forfeiture site for 30 consecutive days, of the government's intent to dispose

of the Subject Property in such a manner as the Attorney General may direct, and notice that any

person, other than the defendant, having or claiming a legal interest in any of the property subject

to this Order must file a petition with the Court within thirty (30) days of the final publication of

notice or of receipt of actual notice, whichever is earlier.

        This notice shall state that the petition shall be for a hearing to adjudicate the validity of

the petitioner's alleged interest in the Subject Property, shall be signed by the petitioner under

penalty of perjury, and shall set forth the nature and extent of the petitioner's right, title or

interest in each of the forfeited properties and any additional facts supporting the petitioner's

claim, and the relief sought.

        5.      The United States shall also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the property that is subject to the

Judgment and Preliminary Order of Forfeiture, and to their attorney, if they are represented, as a

substitute for published notice as to those persons so notified.

        6.      Any person, other than defendant, asserting a legal interest in the Subject Property

may, within thirty days of the final publication of notice or receipt of notice, whichever is earlier,

petition the court for a hearing without a jury to adjudicate the validity of his alleged interest in

the Subject Property, and for an amendment of the order of forfeiture, pursuant to Title 21 United

States Code, Section 853(n)(6).
         Case 2:15-cr-00599-PD Document 55 Filed 03/01/17 Page 3 of 3
              Case 2:15-cr-00599-PD Document 53 Filed 02/13/17 Page 7 of 7



        7.        Pursuant to Fed.R.Crim.P. 32.2(b)(4), this Preliminary Order of Forfeiture shall

become final as to the defendant at the time of sentencing and shall be made part of the sentence

and included in the judgment. See United States v. Bennett, 423 F.3d. 271 (3rd Cir. 2005) (to be

effective, a forfeiture order must be included in sentence and judgment).

        8.        Following the disposition of any petition filed under Fed.R.Crim.P. 32.2(c)(l)(A)

and before a hearing on the petition, discovery may be conducted in accordance with the Federal

Rule of Civil Procedure upon showing that such discovery is necessary or desirable to resolve

factual issues.

        9.        The United States shall have clear title to the Subject Property following the

Court's disposition of all third-party interests.

        10.       The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed.R.Crim.P. 32.2(e).

        11.       In its discretion, the United States is authorized to serve a copy of this Order

directly upon the defendant.

        12.       The Clerk of the United States District Court for the Eastern District of

Pennsylvania shall deliver a copy of this Judgment and Preliminary Order of Forfeiture to the

United States Marshal Service ("USMS"); the Federal Bureau oflnvestigation ("FBI"); and to

counsel for the parties.



                  ORDERED this     2~ay of ~~~                       '2017.




                                                Judge, United States District Court
